      Case 3:18-cv-01309-S Document 23 Filed 12/26/18              Page 1 of 3 PageID 59


                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 PATRICIA CLEMENSON,
                                                 Case No. 3:18-cv-01309-S
        Plaintiff,
                                                 Honorable Judge Karen Gren Scholer
 v.
                                                 Magistrate Judge Horan
 THE CBE GROUP, INC.,

        Defendant.


 PLAINTIFF’S UNOPPOSED MOTION TO EXTEND FACT DISCOVERY DEADLINE

        NOW COMES Plaintiff Patricia Clemenson (“Plaintiff”), by and through her undersigned

counsel, respectfully requesting that the Court enter an Order extending the deadline to complete

fact discovery through February 8, 2018, and in support thereof, stating the following:

        1.      On May 22, 2018, Plaintiff filed the instant case seeking redress for The CBE

Group, Inc.’s (“Defendant”) alleged violations of the Fair Debt Collection Practices Act

(“FDCPA”), the Telephone Consumer Protection Act (“TCPA”), and the Texas Debt Collection

Act (“TDCA”). [Dkt. 1]

        2.      On October 2, 2018, this Honorable Court entered a Scheduling Order (“Court’s

Order”) for this matter. [Dkt. 17].

        3.      Pursuant to the Court’s Order, the deadline to complete fact discovery is December

28, 2018. Id.

        4.      The Parties are close to completing written discovery and are in the process of

coordinating deposition dates.
    Case 3:18-cv-01309-S Document 23 Filed 12/26/18                   Page 2 of 3 PageID 60


          5.     Due to the upcoming holidays and scheduling conflicts, the Parties need additional

time to complete discovery.

          6.     Accordingly, the Plaintiff is respectfully requesting that this Honorable Court

extend the fact discovery deadline through February 8, 2019 to permit the Parties to complete

depositions.

          7.     Plaintiff is seeking this extension in good faith and the relief sought herein is not

prejudicial to Defendant.

          8.     Moreover, the relief sought herein will not impact any other deadlines set by this

Honorable Court.

          9.     Defendant does not opposes the relief sought herein. See Certificate of Conference

below.

          WHEREFORE, Plaintiff respectfully requests that this Honaroable Court extend the fact

discovery deadline through February 8, 2018, and for any further relief the Court deems just and

proper.

Dated: December 26, 2018                                       /s/ Mohammed O. Badwan
                                                               Mohammed Badwan, Esq.
                                                               Counsel for Plaintiff
                                                               Sulaiman Law Group, Ltd.
                                                               2500 S. Highland Ave., Ste. 200
                                                               Lombard, IL 60148
                                                               (630) 575-8180
                                                               mbadwan@sulaimanlaw.com




                                                   2
    Case 3:18-cv-01309-S Document 23 Filed 12/26/18              Page 3 of 3 PageID 61


                            CERTIFICATE OF CONFERENCE

       I, Mohammed O. Badwan, Plaintiff’s counsel, certify that I conferred with Defendant’s

counsel Jacob M. Bach regarding the relief sought herein, and that Defendant does not oppose

the relief sought herein.

                                                   /s/ Mohammed O. Badwan




                               CERTIFICATE OF SERVICE


       I, Mohammed O. Badwan, an attorney, certify that on December 26, 2018, I caused the

foregoing to be served upon counsel of record through operation of the Court’s Case

Management/Electronic Case File (CM/ECF) system.




                                                   /s/ Mohammed O. Badwan




                                               3
